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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
             vs.                          ) CAUSE NO. 3:07-CR-00033 (3) RM
                                          )
 MARTIN HERMOSILLO                        )


                                      ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on August 23, 2007 [Doc. No. 53].

 Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Martin Hermosillo’s plea of guilty, and FINDS the defendant

 guilty of Count 5 of the Indictment, in violation of 18 U.S.C. § 922(j).

       SO ORDERED.

       ENTERED:      September 12, 2007




                                              /s/ Robert L. Miller, Jr.
                                       Chief Judge
                                       United States District Court
